        2:17-cv-11136-GAD-RSW     Doc # 28   Filed 10/12/17   Pg 1 of 2   Pg ID 161



                          UNITED STATES DISTRICT COURT
                      IN THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

TOM BEGRES,

         Plaintiff,                            Case No:17-11136
                                               Hon. Gershwin A. Drain
-vs.-

EXPERIAN INFORMATION
SOLUTIONS, INC., et al.

     Defendants.
__________________________________________________________________

               STIPULATION TO DISMISS CASE
  AS TO DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.
        WITH PREJUDICE AND WITHOUT FEES OR COSTS

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

parties, as evidenced by the signatures of their respective counsel below, stipulate

to the dismissal of Plaintiff’s claims against Experian Information Solutions, Inc.,

only, with prejudice and without attorney’s fees or costs to either party.



 /s/ Gary D. Nitzkin    _                 /s/ Tamara E. Fraser w/ consent
Gary D. Nitzkin (P41155)                 Tamara E. Fraser (P51997)
Attorney for Plaintiff                   Attorney for Defendant
22142 West Nine Mile Road                380 N. Old Woodward Avenue, Suite 300
Southfield, Michigan 48034               Birmingham, MI 48009
(248) 353-2882                           (248) 642-0333
gnitzkin@creditor-law.com                tefraser@wwrplaw.com
        2:17-cv-11136-GAD-RSW     Doc # 28   Filed 10/12/17   Pg 2 of 2   Pg ID 162



                          UNITED STATES DISTRICT COURT
                      IN THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

TOM BEGRES,

         Plaintiff,                            Case No:17-11136
                                               Hon. Gershwin A. Drain
-vs.-

EXPERIAN INFORMATION
SOLUTIONS, INC., et al.

     Defendants.
__________________________________________________________________

                   ORDER OF DISMISSAL
  AS TO DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.
        WITH PREJUDICE AND WITHOUT FEES OR COSTS

         The Court, having reviewed the parties’ stipulation, and finding good cause

shown;

         IT IS HEREBY ORDERED that the within action is hereby dismissed as

to Defendant Experian Information Solutions, Inc. with prejudice and without fees

or costs to either party.


Date: October 12, 2017_                        /s/Gershwin A Drain
                                               Judge of United States District Court
